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                       Exhibit 8
       Case 4:07-cv-05944-JST Document
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                              SAVERI & SAVERI, INC.
                                     706 SANSOME STREET
                               SAN FRANCISCO, CALIFORNIA 94111
                                  TELEPHONE (415) 217-6810
                                   FACSIMILE (415) 217-6813
                                         rick@saveri.com




                                         July 29, 2013



VIA E-MAIL

Michael Scarborough, Esq.
Sheppard Mullin Richter & Hampton LLP
Four Embarcadero Center, 17th Floor
San Francisco, CA 94111


                Re:   In re Cathode Ray Tube (CRT) Antitrust Litigation,
                      Case No. 07-cv-5944-SC (N.D. Cal.)

Dear Michael:

      This letter follows up on discovery responses from Samsung SDI Co., Ltd., Samsung SDI
America, Inc., Samsung SDI (Malaysia) Sdn. Bhd., Samsung SDI Mexico S.A. de C.V.,
Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co., Ltd., Tianjin Samsung SDI Co., Ltd.,
and Samsung SDI (Hong Kong), Ltd. (collectively, “Samsung SDI”).

        On March 12, 2010, the Direct Purchaser Plaintiffs served Samsung SDI with the
Plaintiffs’ Second Set of Requests for Production. Request No. 34 requested the production of
“[a]ll Documents relating to . . . or received from any foreign governmental or legislative
investigative body, including . . . the European Commission . . . or any law enforcement agency,
authority or commission in any foreign country, relating to the sale, marketing, pricing, or
distribution of CRT or CRT Products.”

        On December 5, 2012, the European Commission (EC) issued a press release announcing
a fine of € 1.47 billion to certain CRT producers, including Samsung SDI, for participation in
CRT cartels that “operated worldwide.” See European Commission, “Antitrust: Commission
fines producers of TV and computer monitor tubes € 1.47 billion for two decade-long cartels”
(Dec. 5, 2012), available at http://europa.eu/rapid/press-release_IP-12-1317_en.htm. Samsung
SDI was directly fined € 150.8 million for its illegal conduct.
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Michael Scarborough
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        The Plaintiffs are aware that there is a non-public version of the EC’s opinion to which
the fined defendants, including Samsung SDI, have access. To date, Samsung SDI has objected
and refused to produce any documents in response to Request No. 34. Samsung SDI’s
objections provide no basis for withholding plainly responsive documents, including the non-
public decision. Plaintiffs therefore request that these documents be produced without delay or,
if Samsung SDI will not do so, that Samsung SDI immediately provide dates and times for a
meet-and-confer on this issue this week or early next week.

       We look forward to your prompt response on this matter.

                                                    Sincerely,

                                                    R. Alexander Saveri
                                                    R. Alexander Saveri


cc:    Tony Shapiro
       Aaron Sheanin
       Mario Alioto
       Anne Nardacci
       Craig A Benson
